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 5   Attorney for Defendant
     HUANCHANG MA
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,     )        CR NO. S-11-166 MCE
11                                 )
               Plaintiff,          )        STIPULATION AND
12                                 )        ORDER TO EXTEND TIME TO
          v.                       )        POST PROPERTY BOND
13                                 )
     HUANCHANG MA                  )
14                                 )        Judge:   Hon. Kendall J. Newman
               Defendant.          )
15   ______________________________)
                                   )
16

17        On April 20, 2011, the Honorable Kendall J. Newman set Mr.

18   Ma’s bond amount at $75,000, to be secured by his (Mr. Ma’s)

19   family’s home in San Francisco, CA.      Judge Newman allowed Mr. Ma

20   released from custody, pending the filing of the secured bond,

21   after Mr. Ma’s family executed a signature bond in the amount of

22   $75,000. Subsequently, the signature bond was filed with the

23   Court on (or about) April 25, 2011 and the defendant was released

24   from custody on April 26, 2011. The property bond was ordered to

25   be posted within two weeks.     On May 10, 2011 , Hon. Dale A. Drozd

26   signed a Stipulation continuing the Bond due date May 25, 2011.

27        Mr. Ma and his family live in San Francisco and speak only

28   Cantonese.   We (the defense) are working with the Interpreter to
                                        1
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 1   help facilitate gathering all the necessary documents from the Ma

 2   family.   Some of the required paperwork has been received,

 3   however not all the paperwork has arrived and additional time is

 4   required to gather the remaining paperwork and assimilate the

 5   necessary bond information.

 6        Unfortunately, (and unknown to the Defense at the time the

 7   first request for a continuance of the bond “due date” was filed

 8   and signed) the Cantonese Interpreter was scheduled to leave the

 9   Country for two weeks.      The Defense only learned of this

10   circumstance after several phone calls and emails to the

11   Interpreter went, understandably, unanswered as he was in Hong

12   Kong.   It is the Defense’s understanding the Interpreter will be

13   back (at least back in the County) today, June, 7, 2011.

14        Accordingly the parties agree that the deadline for posting

15   the property bond may be extended to June 27, 2011.           This office

16   has contacted Todd Leras of the U.S. Attorney’s Office, and the

17   Pretrial Service Officer Darryl Walker, and they have no

18   objection to this request.

19

20   Dated: June 7, 2011                      Respectfully submitted,

21

22                                            John R. Manning
                                              Attorney at Law
23   Benjamin Wagner
     United States Attorney
24
     /s/ Todd Leras     _                     /s/ John R. Manning
25   TODD LERAS                               JOHN R. MANNING
     Assistant U.S. Attorney                  Attorney at Law
26   Attorney for the United States           Attorney for Defendant
                                              Huanchang Ma
27

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                                          2
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 5   Attorney for Defendant
     HUANCHANG MA
 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,     )        CR NO. S-11-0166 MCE
11                                 )
               Plaintiff,          )
12                                 )        ORDER EXTENDING TIME TO
          v.                       )        POST PROPERTY BOND
13                                 )
     HUANCHANG MA,                 )
14                                 )        Judge:   Hon. Kendall J. Newman
               Defendant.          )
15   ______________________________)
                                   )
16
          For good cause appearing, the due date for posting of a
17
     secured property bond in this matter shall be continued to
18
     June 27, 2011.
19

20   IT IS SO ORDERED.

21
     Dated: June 8, 2011
22

23

24
                                      __________________________________
25                                    KENDALL J. NEWMAN
                                      UNITED STATES MAGISTRATE JUDGE
26

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                                        3
